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 7
 8
                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ARIZONA
 9
10
     RAEANN PATTON,                             Case No.: 2:16-cv-02983-JJT
11
12               Plaintiffs,                    STIPULATION FOR DISMISSAL
           vs.                                  OF SPRINGLEAF FINANCE, INC
13                                              WITH PREJUDICE
   STERLING JEWELERS, INC;
14 SPRINGLEAF FINANCE, INC; and
   EXPERIAN INFORMATION
15 SOLUTIONS, INC.
16
                 Defendants.
17
18
           RaeAnn Patton (“Plaintiff”) through her attorneys, Price Law Group APC,
19
20   and Defendant Springleaf Finance, Inc. (“Springleaf”), by and through its
21
22
     attorneys, Fennemore Craig, P.C., hereby stipulate to dismiss Plaintiff’s claims
23   against Springleaf with prejudice pursuant to Rule 41(a)(2), with each party to
24
25   bear its own costs and attorneys’ fees
26
           DATED: July 25, 2017                  PRICE LAW GROUP, APC
27
28                                              By: /s/David A. Chami        ’
29                                              David A. Chami
                                                Attorney for Plaintiff RaeAnn Patton
30
             Case 2:16-cv-02983-JJT Document 50 Filed 07/25/17 Page 2 of 2




 1
     DATED: July 25, 2017                       FENNEMORE CRAIG, P.C.
 2
 3                                              By: /s/ J. Christopher Gooch
 4                                              J. Christopher Gooch
                                                2394 East Camelback, Suite 600
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                                                Phoenix, AZ 85016-3429
 6                                              T: (602) 916-5000
 7                                              Attorneys for Defendant
 8
                                                Springleaf Financial Services, Inc.
 9
10
                             CERTIFICATE OF SERVICE
11
12         I hereby certify that on July 25, 2017, I electronically transmitted the
13
     foregoing document to the Clerk’s Office using the CM/ECF System for filing
14
15   and transmittal of a Notice of Electronic Filing to the foregoing CM/ECF
16
     registrants:
17
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19
     /s/ Sandra Padilla
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